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                              UNITED STATES BANKRUPTCY COURT                         SF00200 (rev 07/2010)
                                    Southern District of Indiana
                                    121 W. Spring St., Rm. 110
                                      New Albany, IN 47150
In re:

Eastern Livestock Co., LLC,                               Case No. 10−93904−BHL−11
             Debtor(s).

                                              NOTICE

NOTICE IS GIVEN that the Court will consider and act upon the following matters and to
transact such other business as may properly come before the Court:

         Hearing Re: Reinstated Objection to Application to Employ Baker & Daniels, LLP
         (n/k/a Faegre Baker Daniels LLP) as Counsel to Chapter 11 Trustee filed by Daniel J.
         Donnellon on behalf of Creditor First Bank and Trust Company, The [1238].

         Date: August 20, 2012
         Time: 10:00 AM EDT
         Place: Rm. 103 Federal Building, 121 W. Spring St., New Albany, IN 47150

Motions for continuances must be filed as soon as the cause for continuance or delay is
discovered by the party requesting the continuance and no later than 7 days before the date of the
hearing. Motions for continuances filed less than 7 days before the hearing date will be granted
only upon a showing of good cause. Every motion for continuance shall denominate whether
opposing counsel objects to the continuance or what efforts were made to contact opposing
counsel regarding such request for continuance.

The above−referenced document is available at http://pacer.insb.uscourts.gov, or it may be
requested from the filer.

Dated: July 16, 2012                               Kevin P. Dempsey
                                                   Clerk, U.S. Bankruptcy Court
